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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF RHODE ISLAND
   __________________________________________
   PLASTERERS’ AND CEMENT MASONS’                   :
   LOCAL 40 PENSION FUND, through its               :
   TRUSTEES, PLASTERERS’ AND CEMENT                 :
   MASONS’ LOCAL 40 ANNUITY FUND, through :
   its TRUSTEES, PLASTERERS’ AND CEMENT :
   MASONS’ LOCAL 40 HEALTH AND                      :
   WELFARE FUND, through its TRUSTEES,              :
   PLASTERERS’ AND CEMENT MASONS’                   :
   LOCAL 40 APPRENTICESHIP FUND, through its :
   TRUSTEES, and VALERIE CAMPANA, in her            :
   official capacity as Administrator of the Funds, :
                                                    :
           Plaintiffs,                              :
                                                    :
           v.                                       :   C.A. No. 18-612 JJM
                                                    :
   CHEROKEE CONSTRUCTION, INC.                      :
                                                    :
           Defendant.                               :
   __________________________________________:

                             STIPULATION OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs voluntarily dismiss the above-

   captioned matter with prejudice.



   Plaintiffs,                                          Defendant,
   By their Attorney,                                   By its Attorney,

   /s/ Elizabeth Wiens                                  /s/ Charles S. Kirwan
   Elizabeth Wiens, Esq. #6827                          Charles Kirwan, Esq.
   Gursky|Wiens Attorneys at Law, Ltd.                  Kirwan Law
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   Dated: January 31, 2020                              Dated: January 31, 2020




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                                      CERTIFICATION

           I hereby certify that I electronically filed the within on January 31, 2020. The
   documents are available for viewing and downloading from the Court’s Electronic Case
   Filing system.

                                                               /s/ Elizabeth Wiens




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